                                                                                                      EXHIBIT C

                                                                                                       Contracts


                                                                                                                                    INVOICE
    COUNTERPARTY                                        ADDRESS                                 DESCRIPTION                                             CURE AMOUNT             DESIGNATION / NOTES
                                                                                                                                    DATE1
    1412 OWNER LLC                                      C O Murray Hill Properties LLC          Office Lease                             09/01/2009             $23,557.07
                                                        1140 Ave of the Americas
                                                                                                                                         10/01/2009              17,511.88
                                                        New York, NY 10036
                                                                                                                                         11/01/2009                    122.47

    1412 OWNER LLC Total                                                                                                                                         41,191.42             Assumed
    226 WEST BROUGHTON, LLC                             C O Marley Management Company           Retail License                                                           0.00
                                                        Inc.
                                                        30 West Broughton Street, St. 203
                                                        Savannah, GA 31401
    226 WEST BROUGHTON, LLC Total                                                                                                                                        0.00          Assumed
    717 GFC LLC                                         C O Wharton Properties                  Retail License                                                          17.34
                                                        500 Fifth Ave                           New York Store
                                                        New York, NY 10110                                                               10/01/2009
    717 GFC LLC Total                                                                                                                                                   17.34          Assumed
                                                                th
    A TOUCH OF CLASS                                    4921 16 Avenue                          Purchase of Product                                                      0.00
                                                        Brooklyn, NY 11204

    A TOUCH OF CLASS Total                                                                                                                                               0.00          Assumed
    A-1 OFFICE SERVICES MANAGEMENT                      2226 Morris Ave                         Employee Leasing                         07/13/2009                    106.56
                                                        Union, NJ 07083
                                                                                                                                         07/15/2009               3,207.00

                                                                                                                                         08/10/2009                     66.60

                                                                                                                                         08/15/2009               3,207.00

                                                                                                                                         08/17/2009                     79.92
    A-1 OFFICE SERVICES MANAGEMENT                                                                                                                                6,667.08             Assumed
    Total
    ADT SECURITY SERVICES                               One Town Ctr Rd                         Alarm Monitoring                         07/27/2009               3,745.61
                                                        Boca Raton, FL 33486
                                                                                                                                         07/29/2009                    125.28

                                                                                                                                         08/11/2009               2,174.01

                                                                                                                                         08/14/2009               1,736.00

                                                                                                                                         09/30/2009                     14.57

    ADT SECURITY SERVICES Total                                                                                                                                   7,795.47             Assumed
    AIR STREAM AIR CONDITIONING CORP.                   245 Newtown Rd Ste 305                  HVAC Maintenance                    07/28/2009          58.45
                                                        Plainview, NY 11803                                                                                       2,400.51
                                                                                                                                         07/31/2009
                                                                                                                                         08/10/2009               4,343.63

                                                                                                                                         08/26/2009               3,203.77



1
      Where more than one contract is listed for a counterparty, invoice dates do not necessarily correspond to individual contracts but may apply to all contracts.

                                                                                                           1
                                                                                                      INVOICE
COUNTERPARTY                        ADDRESS                            DESCRIPTION                                    CURE AMOUNT          DESIGNATION / NOTES
                                                                                                      DATE1
AIR STREAM AIR CONDITIONING CORP.                                                                                     10,006.36                    Assumed
Total
ALEXANDRAS OF BRIGHTON              2209 Monroe Drive                  Purchase of Product                                          0.00
                                    Rochester, NY 14618
ALEXANDRAS OF BRIGHTON Total                                                                                                        0.00           Assumed
AMERICAN EXPRESS TRAVEL RELATED     200 Vesey St                       Credit Card Acceptance                                 2,081.29             Assumed
SERVICES COMPANY                    New York, NY 10285                 Contract                          08/07/2009
                                                                       Participation in Promotional                           5,397.31             Assumed
                                                                       Programs Contract (Gift
                                                                       Certificates)                     10/08/2009
                                                                       Participation in Promotional                                60.00           Assumed
                                                                       Programs Contract (Merchant
                                                                       Award Points)                     08/01/2009
AMERICAN EXPRESS TRAVEL RELATED                                                                                               7,538.60             Assumed
SERVICES COMPANY Total
ARCHIVE SYSTEMS INC                 39 Plymouth St                     Records Storage                   07/31/2009               737.94
                                    Fairfield, NJ 07004
                                                                                                         10/14/2009               318.09

ARCHIVE SYSTEMS INC Total                                                                                                     1,056.03             Assumed
AVAYA, INC.                         624 Grand Regency Blvd             Telephone Hardware                                         287.93
                                    Brandon, FL 33510                  Maintenance                       08/04/2009
                                                                                                         08/06/2009               319.50

                                                                                                         08/08/2009                 3.74

AVAYA, INC. Total                                                                                                                 611.17           Assumed
B W HOTEL LLC                       9500 Wilshire Blvd.                Retail Lease                                                 0.00
                                    Beverly Hills, CA 90212
B W HOTEL LLC Total                                                                                                                 0.00           Assumed
BAL HARBOUR SHOPS LLLP              9700 Collins Ave                   Retail Lease                                                50.00
                                    Bal Harbour, Fl 33154              Bal Harbour Store                 07/21/2009
BAL HARBOUR SHOPS LLLP Total                                                                                                       50.00           Assumed
BANK OF AMERICA LEASING AND         P.O. Box 7028                      Office Equipment Lease                                       0.00
CAPITAL, LLC                        Troy, MI 48007
BANK OF AMERICA LEASING AND                                                                                                         0.00           Rejected
CAPITAL, LLC Total
BANK OF AMERICA, N.A.               Capital Markets Servicing Group    SNDA (Office Space Lease)
                                    Mail Code: NC1-026-06-01
                                    900 West Trade Street, Suite 650
                                    Charlotte, NC 28255                                                                             0.00
BANK OF AMERICA, N.A. Total                                                                                                         0.00           Assumed
BILTMORE SHOPPING CENTER PARTNERS   2502 East Camelback Road           Retail Lease                                                 0.00   Amendments Negotiated with
LLC                                 Phoenix, AZ 85016                  Biltmore Store                                                         landlord as Amended
BILTMORE SHOPPING CENTER                                                                                                            0.00            Assumed
PARTNERS LLC Total
BINNS FASHION SHOP                  435 Duke of Gloucester St.         Purchase of Product                                          0.00
                                    Williamsburg, VA 23185
BINNS FASHION SHOP Total                                                                                                            0.00           Assumed



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                                                                                                        INVOICE
COUNTERPARTY                        ADDRESS                             DESCRIPTION                                     CURE AMOUNT     DESIGNATION / NOTES
                                                                                                        DATE1
BLOOMINGDALE’S                      919 Third Ave.                      Purchase of Product                                      0.00
                                    New York, NY 10022
BLOOMINGDALE’S                                                                                                                   0.00          Assumed
BLOOMINGDALE’S INC.                 C O Macy’s Corporate Services       Consignment                                              0.00
                                    2101 East Kemper Road
                                    Cincinnati, OH 45241
BLOOMINGDALE’S, INC. Total                                                                                                       0.00          Assumed
BOYDS                               1818 Chestnut Street                Purchase of Product                                      0.00
                                    Philadelphia, PA 19103
BOYDS Total                                                                                                                      0.00          Assumed
BPCM LA                             169 North Wetherly Dr               Brand Representation in                              6,200.00
                                    Beverly Hills, CA 90211             Respect of Celebrities and
                                                                        Editorial Coverage                 07/13/2009
                                                                                                           08/01/2009        7,200.00

BPCM LA Total                                                                                                               13,400.00          Assumed
C & F LUXURY CARS LLC               1820 Bartow Ave                     Chauffer Services                                        0.00
                                    Bronx, NY 10469
C & F LUXURY CARS LLC Total                                                                                                      0.00          Assumed
CERTEGY CHECK SERVICES, INC         11601 Roosevelt Blvd.               Check Verification Services                              0.00
                                    St. Petersburg, FL 33716
CERTEGY CHECK SERVICES, INC Total                                                                                                0.00          Assumed
CHICAGO OFFICE TECHNOLOGY GROUP     4 Territorial Court, Suite S        Copier Lease                                             0.00
                                    Bolingbrook, IL 60440
CHICAGO OFFICE TECHNOLOGY                                                                                                        0.00          Rejected
GROUP Total
CLEAN NET                           800 W. Airport Freeway, Suite 720   Cleaning Services                                        0.00
                                    Irving, TX 75062
CLEAN NET Total                                                                                                                  0.00          Assumed
CLUB & COUNTRY LTD                  57 Hillside Ave.                    Purchase of Product                                      0.00
                                    Manhasset, NY 11030
CLUB & COUNTRY LTD Total                                                                                                         0.00          Assumed
CORPORATE REAL ESTATE SERVICES,     60 Monmouth Park Hwy                Lease Administration Services      07/20/2009        2,071.04
INC.                                West Long Branch, NJ 07764
                                                                                                           08/20/2009         114.27
CORPORATE REAL ESTATE SERVICES,                                                                                              2,185.31          Assumed
INC. Total
COUNTRY CLUB CASUALS                812 49th Ave. SW                    Purchase of Product                                      0.00
                                    Calgary AB T2S1G9
                                    Canada
COUNTRY CLUB CASUALS Total                                                                                                       0.00          Assumed
CPG HOUSTON HOLDINGS, LP            C O Chelsea Property Group          Retail License                                           0.00
                                    105 Eisenhower Parkway              Woodbury Commons Store
                                    Roseland, NJ 07068
CPG HOUSTON HOLDINGS, LP Total                                                                                                   0.00          Assumed




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                                                                                                        INVOICE
COUNTERPARTY                         ADDRESS                           DESCRIPTION                                      CURE AMOUNT     DESIGNATION / NOTES
                                                                                                        DATE1
CPG PARTNERS, L.P.                   C O Chelsea Property Group Inc    Retail Lease                                           293.55
                                     105 Eisenhower Pkwy               Woodbury Commons Store
                                     Roseland, NJ 07068                                                    09/01/2009
CPG PARTNERS, L.P. Total                                                                                                      293.55             Assumed
DE LAGE LANDEN FINANCIAL SERVICES,   1111 Old Eagle School Rd          Office Equipment Lease                                 437.15
INC.                                 Wayne, PA 19087                                                       07/25/2009
DE LAGE LANDEN Total                                                                                                          437.15             Assumed
DILLARDS DEPARTMENT STORES, INC.     4501 North Beach Street           Purchase of Product                                       0.00
                                     Ft. Worth, TX 76137
DILLARDS DEPARTMENT STORES, INC.                                                                                                 0.00            Assumed
Total
DISCOVER MUSIC NETWORK               P.O. Box 30394                    Credit Card Acceptance                                    0.00
                                     Salt Lake City, UT 84130
DISCOVER MUSIC NETWORK Total                                                                                                     0.00            Assumed
DMX MUSIC, INC.                      11400 W. Olympic Blvd., Suite     Music Subscription Service                                0.00
                                     1100
                                     Las Angeles, CA 90064
DMX MUSIC, INC. Total                                                                                                            0.00            Assumed
EL PASEO COLLECTION NORTH            73 061 El Paseo St., 200          Retail Lease                                              0.00
                                     Palm Desert, CA 92260             Palm Desert Store
EL PASEO COLLECTION NORTH Total                                                                                                  0.00            Assumed
ELLAS CLOTHES CLOSET                 4070 200th Street West            Purchase of Product                                       0.00
                                     Langley, BC V3A1K9
                                     Canada
ELLAS CLOTHES CLOSET Total                                                                                                       0.00            Assumed
ESCADA GmbH                          Einsteinring 14-18                Merchandise Agreement
                                     85609 Aschheim/Munich                                                                       0.00
                                     Germany
ESCADA GmbH Total                                                                                                                0.00            Rejected

FASHION LOGISTICS, INC               45 Enterprise Avenue              Product Storage and                                       0.00
                                     Secaucus, NJ 07094                Distribution Services
FASHION LOGISTICS, INC Total                                                                                                     0.00            Assumed
FASHION OUTLETS OF NIAGARA, LLC      C O The Talisman Companies        Retail Lease                        08/07/2009       13,017.48
                                     4000 Ponce De Leon Blvd Ste 420
                                                                       Niagara Falls Store                                   4,030.65
                                     Coral Gables, FL 33146                                                09/01/2009
FASHION OUTLETS OF NIAGARA, LLC                                                                                             17,048.13            Assumed
Total
FEINSTEINS                           5600 Kavanaugh Blvd.              Purchase of Product                                       0.00
                                     Little Rock, AR 72207
FEINSTEINS Total                                                                                                                 0.00            Assumed
FIFTH AVENUE OF LONG ISLAND REALTY   American Manasset                 Retail Lease - Manhasset Store                       18,000.00    Amendments of store lease
                                     2110 Northern Blvd                Advertising Placement                                              negotiated with landlord
                                     Manhasset, NY 11030               (Circular)                          08/03/2009
                                                                       Event Participation                 12/01/2009         259.02             Assumed



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                                                                                                    INVOICE
COUNTERPARTY                          ADDRESS                         DESCRIPTION                                    CURE AMOUNT           DESIGNATION / NOTES
                                                                                                    DATE1
FIFTH AVENUE OF LONG ISLAND                                                                                                 18,259.02        Assumed as Amended
REALTY Total
FIRST QUALITY MAINTENANCE             70 West 36th St                 Office Cleaning Services      07/31/2009       3,082.52
                                      New York, NY 10018                                                                        3,082.52
                                                                                                        08/01/2009
FIRST QUALITY MAINTENANCE Total                                                                                                 6,165.04          Assumed
FIRST VERMONT BANK AND TRUST          58 Bonner Street                SNDA (Manchester Store                                      0.00
COMPANY (N/K/A TD BANK, N.A.)         Manchester, VT 05255            Lease)
FIRST VERMONT BANK AND TRUST
COMPANY (N/K/A TD BANK, N.A.) Total
                                                                                                                                  0.00            Assumed
FISHER CORP MISS J DPT. 26            1974 Utica Square               Purchase of Product                                           0.00
                                      Tulsa, OK 74114
FISHER CORP MISS J DPT. 26 Total                                                                                                                  Assumed
                                                                                                                                   0.00
FORUM SHOPS, LLC                      National City Center            Retail Lease
                                      115 West Washington St.         Las Vegas Store
                                      Indianapolis, IN 46204                                                                       0.00
FORUM SHOPS, LLC Total                                                                                                             0.00           Assumed
G G META CORP GIULIANA                1485 East Valley Road           Purchase of Product                                                         Assumed
                                      Montecito, CA 93108                                                                           0.00
G G META CORP GIULIANA Total                                                                                                                      Assumed
                                                                                                                                    0.00
GARMANY OF RED BANK INC               121 Broad St.                   Purchase of Product                                                         Assumed
                                      Redbank, NJ 07701                                                                            0.00
GARMANY OF RED BANK INC Total                                                                                                                     Assumed
                                                                                                                                0.00
GAZEBO LTD                            107 Reynold Village             Purchase of Product                                           0.00          Assumed
                                      Winston Salem, NC 27106
GAZEBO LTD Total                                                                                                                    0.00          Assumed
GENERAL ELECTRIC CAPITAL              1961 Hirst Drive                Office Equipment Lease                                        0.00          Rejected
CORPORATION                           Moberly, MO 65270
GENERAL ELECTRIC CAPITAL                                                                                                            0.00          Rejected
CORPORATION Total
GENERAL INFORMATION SERVICES          P.O. Box 353                    Employee Screening Services       07/31/2009              1,347.50          Assumed
                                      Chapin, SC 29036
                                                                                                        08/31/2009               879.60           Assumed
GENERAL INFORMATION SERVICES                                                                                                    2,227.10          Assumed
Total
GGP ALA MOANA, LLC                    1585 Kapiolani Blvd Ste 800     Retail Lease - Hawaii Store       08/07/2009               735.44           Assumed
                                      Honolulu, HI 96814
                                                                      Storage Space Agreement           09/08/2009               336.66           Assumed

                                                                                                        11/01/2009                24.81

GGP ALA MOANA, LLC Total                                                                                                        1,096.91          Assumed
GISELLE SPORTSWEAR INC                143 Orchard Street              Purchase of Product                                           0.00
                                      New York, NY 10002
GISELLE SPORTSWEAR INC Total                                                                                                        0.00          Assumed
GRANT MCCARTHY GROUP, LLC             777 Westchester Ave., St. 201   Tax Consulting Services                                       0.00
                                      White Plaints, NY 10604

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                                                                                                   INVOICE
COUNTERPARTY                      ADDRESS                            DESCRIPTION                                   CURE AMOUNT       DESIGNATION / NOTES
                                                                                                   DATE1
GRANT MCCARTHY GROUP, LLC                                                                                                    0.00           Assumed
GRUEN ASSOCIATES                  6330 San Vicente Blvd Ste 200      Architectural Services           11/19/2008       (12,191.27)
                                  Los Angeles, CA 90048
                                                                                                      05/12/2009       15,408.79

GRUEN ASSOCIATES Total                                                                                                  3,217.52            Assumed
GUS MAYER                         604 Brookwood Village              Purchase of Product                                     0.00
                                  Birmingham, AL 35209
GUS MAYER Total                                                                                                              0.00           Assumed
HANG CHIH INC IBA                 K10 W Valley Blvd. No. 130         Purchase of Product                                     0.00
                                  San Gabriel, CA 91776
HANG CHIH INC IBA Total                                                                                                      0.00           Assumed
HAWAII MALLS, INC.                560 North Nimitz Highway, Suite    Advertising Placement                                   0.00
                                  206 A                              (duratrans)
                                  Honolulu, HI 96817
HAWAII MALLS, INC. Total                                                                                                     0.00           Assumed
HEIDE & COOK                      1714 Kanakanui St.                 HVAC Maintenance                                        0.00
                                  Honolulu, HI 96819
HEIDE & COOK Total                                                                                                           0.00           Assumed
HIGHLAND PARK SHOPPING VILLAGE    47 Highland Park Village Ste 200   Retail Lease                     09/01/2009        4,680.51
                                  Dallas, TX 75205
                                                                     Highland Park Village            11/01/2009        4,439.28

                                                                                                      12/01/2009          120.14
HIGHLAND PARK VILLAGE PARTNERS                                                                                          9,239.93            Assumed
Total
HOUSTON PREMIUM OUTLETS           29300 Hempstead Rd Ste 913         Advertising Placement                              2,934.34
                                  Cypress, TX 77433                  (duratrans)                      08/05/2009
                                                                                                      09/03/2009        1,276.32

                                                                                                      12/09/2009          638.71

HOUSTON PREMIUM OUTLETS Total                                                                                           4,849.37            Assumed
HS ASSET MANAGEMENT GROUP         5105 Paulsen St Ste 200A           Project Management Services                        3,034.14
                                  Savannah, GA 31405                                                  08/28/2009
HS ASSET MANAGEMENT GROUP Total                                                                                         3,034.14            Assumed
IBM CORP                          1 New Orchard Rd                   Hardware & Software                                1,667.09
                                  Armonk, NY 10504                   Maintenance                      07/06/2009
IBM CORP Total                                                                                                          1,667.09            Assumed
IDHASOFT, INC                     5655 Peachtree Pkwy Ste 200        Software Maintenance                                 868.75
                                  Norcross, GA 30092                                                  06/25/2009
IDHASOFT, INC Total                                                                                                       868.75            Assumed
IMPERIAL COMMERCIAL CLEANING      19390 Collins Ave Ste 504          Cleaning Services                07/30/2009         (215.75)
                                  Sunny Isles, FL 33160
                                                                                                      08/01/2009        1,378.70
IMPERIAL COMMERCIAL CLEANING                                                                                            1,162.95            Assumed
Total
JACOBSON STORES INC               329 N Park Avenue Ste No. 101      Purchase of Product                                     0.00
                                  Winter Park, FL 32789


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                                                                                          INVOICE
COUNTERPARTY                       ADDRESS                         DESCRIPTION                      CURE AMOUNT   DESIGNATION / NOTES
                                                                                          DATE1
JACOBSON STORES INC Total                                                                                  0.00          Assumed
JEAN HUTCHINSON INC                51 East Putnam Ave.             Purchase of Product                     0.00
                                   Greenwich, CT 06830
JEAN HUTCHINSON INC Total                                                                                  0.00          Assumed
JEAN WYMAN LTD                     2901 Clint Moore Rd., No. 102   Purchase of Product                     0.00
                                   Boca Raton, FL 33496
JEAN WYMAN LTD Total                                                                                       0.00          Assumed
JEFFERY KONG                       Sebastian Platz 9               Employment Agreement                    0.00
                                   Munchen 80333, Germany
JEFFERY KONG Total                                                                                         0.00          Rejected
JOE BRAND INC                      5300 San Dario Ave.             Purchase of Product                     0.00
                                   Laredo, TX 78041
JOE BRAND INC Total                                                                                        0.00          Assumed
JOHN B MALOUF INC                  8201 Quaker Ave., No. 106       Purchase of Product                     0.00
                                   Lubbock, TX 79424
JOHN B MALOUF INC Total                                                                                    0.00          Assumed
JONES & JONES                      4500 North 10th St., Suite 90   Purchase of Product                     0.00
                                   McAllen, TX 78504
JONES & JONES Total                                                                                        0.00          Assumed
                                               th
JULIAN GOLD AUSTIN                 1214 West 6 St.                 Purchase of Product                     0.00
                                   Austin, TX 78703
JULIAN GOLD AUSTIN Total                                                                                   0.00          Assumed
JULIAN GOLD CORPUS CHRISTI         3840 South Alameda              Purchase of Product                     0.00
                                   Corpus Christi, TX 78411
JULIAN GOLD CORPUS CHRISTI Total                                                                           0.00          Assumed
JULIAN GOLD MIDLAND                2101 West Wadley Suite 16       Purchase of Product                     0.00
                                   Midland, TX 79705
JULIAN GOLD MIDLAND Total                                                                                  0.00          Assumed
JULIAN GOLD SAN ANTONIO            4109 McCullough                 Purchase of Product                     0.00
                                   San Antonio, TX 78212
JULIAN GOLD SAN ANTONIO Total                                                                              0.00          Assumed
JULIE PHILLIPS ASSOC INC           1180 08 Uptown Park Blvd.       Purchase of Product                     0.00
                                   Houston, TX 77056
JULIE PHILLIPS ASSOC INC Total                                                                             0.00          Assumed
LA CHIC                            315 8th Ave. SW                 Purchase of Product                     0.00
                                   No. 252 Bankers Hall
                                   Calgary AB T2P4K1
                                   Canada
LA CHIC Total                                                                                              0.00          Assumed
LEIGHS OF WEST MICHIGAN            1942 Breton Road SE             Purchase of Product                     0.00
                                   Grand Rapids, MI 49506
LEIGHS OF WEST MICHIGAN Total                                                                              0.00          Assumed
LOOK FOR FASHIONS INC              8733 Countryside Plaza          Purchase of Product                     0.00
                                   Omaha, NE 68114


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                                                                                                        INVOICE
COUNTERPARTY                          ADDRESS                              DESCRIPTION                                  CURE AMOUNT      DESIGNATION / NOTES
                                                                                                        DATE1
LOOK FOR FASHIONS INC Total                                                                                                      0.00           Assumed
LVP ST. AUGUSTINE OUTLETS LLC         CO Prime Retail LP                   Retail Lease                                          0.00
                                      217 Redwood Street                   St. Augustine Store
                                      Baltimore, MD 21202
LVP ST. AUGUSTINE OUTLETS LLC Total                                                                                              0.00           Assumed
LYNDONS                               2000 N. Rock Rd., Suite 130          Purchase of Product                                   0.00
                                      Wichita, KS 67206
LYNDONS Total                                                                                                                    0.00           Assumed
MAISON WEISS INC                      4500 Interstate 55 North             Purchase of Product                                   0.00
                                      Jackson, MS 39211
MAISON WEISS INC Total                                                                                                           0.00           Assumed
MARHEN CLEANING, INC.                 Po Box 564603                        Cleaning Services               08/02/2009        1,891.94
                                      College Point, NY 11356
                                                                                                           08/30/2009         640.08

MARHEN CLEANING, INC. Total                                                                                                  2,532.02           Assumed
MARIOLA                               916 Corydon Ave.                     Purchase of Product                                   0.00
                                      Winnepeg MB R3M0Y5
                                      Canada
MARIOLA Total                                                                                                                    0.00           Assumed
MARSHS                                270 Main St.                         Purchase of Product                                   0.00
                                      Huntington, NY 11743
MARSHS Total                                                                                                                     0.00           Assumed
MARTI                                 16 8 West King St.                   Purchase of Product                                   0.00
                                      Lancaster, PA 17603
MARTI Total                                                                                                                      0.00           Assumed
MASSACHUSETTS MUTUAL LIFE             Attn: Mortgage Loan                  SNDA (Phoenix Store Lease)
INSURANCE COMPANY                     Administration Real Estate Finance
                                      Group
                                      1500 Main Street, Suite 2100
                                      Springfield, MA 01115                                                                    0.00
MASSACHUSETTS MUTUAL LIFE
INSURANCE COMPANY Total                                                                                                       0.00              Assumed
MEGAPATH INC.                         555 Anton Blvd Ste 200               Internet Service Provider                          245.46
                                      Costa Mesa, CA 92626                                                 08/01/2009
MEGAPATH INC. Total                                                                                                           245.46            Assumed
MENEHUNE WATER COMPANY, INC.          99-1205 Halawa Valley St             Water Cooler Lease              07/01/2009          15.55
                                      Aiea, HI 96701
                                                                                                           07/09/2009          15.00

                                                                                                           07/22/2009           (5.00)

                                                                                                           08/01/2009          15.55

                                                                                                           08/06/2009          31.00
MENEHUNE WATER COMPANY, INC.                                                                                                   72.10            Assumed
Total
MICROFOCUS                            400 Interstate parkway, Suite 1650   Software Maintenance                                  0.00
                                      Atlanta, GA 30339


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                                                                                                                                     INVOICE
       COUNTERPARTY                                        ADDRESS                                 DESCRIPTION                                           CURE AMOUNT                   DESIGNATION / NOTES
                                                                                                                                     DATE1
       MICROFOCUS Total                                                                                                                                               0.00                        Assumed
       MILANO HANDBAG & LUGGAGE                            928 S Western Ave. No. 211              Purchase of Product                                                0.00
                                                           Los Angeles, CA 90006
       MILANO HANDBAG & LUGGAGE Total                                                                                                                                 0.00                        Assumed
       MIRAMAR OUTLET WEST, LLC                            10801 Corkscrew Rd. Suite 305           Retail Lease                                                       0.00
                                                           Estero, FL 33928                        Miramar Store
       MIRAMAR OUTLET WEST, LLC Total                                                                                                                                 0.00                        Assumed
       MITCHELLS                                           670 Post Rd. East                       Purchase of Product                                                0.00
                                                           Westport, CT 06880
       MITCHELLS Total                                                                                                                                                0.00                        Assumed
       MR OOLEYS INC                                       1901 N W Expressway, Suite 1023         Purchase of Product                                                0.00
                                                           Oklahoma City, OK 73118
       MR OOLEYS INC Total                                                                                                                                            0.00                        Assumed
       MUTUAL CENTRAL ALARM SERVICES,                      10 West 46th St                         Alarm Monitoring Services at                                   2,094.66
       INC                                                 New York, NY 10036                      NJ Store
                                                                                                   Alarm Monitoring, Card
                                                                                                   Access and CCTV Services at
                                                                                                   Corporate Office                       08/01/2009
       MUTUAL CENTRAL ALARM SERVICES,                                                                                                                             2,094.66                        Assumed
       INC Total
       NANONATION, INC.                                    301 South 13th St., No. 700             Digital Monitor Maintenance                           0.00
                                                           Lincoln, NE 68508
       NANONATION, INC. Total                                                                                                                                         0.00                        Assumed
       NATURE’S BEST                                       900 Manatee Way                         Water Cooler Lease                                                 0.00
                                                           Hollywood, FL 33019
       NATURE’S BEST Total                                                                                                                                            0.00                        Rejected
       NEIMAN MARCUS2                                      One Marcus Square                       Purchase of Product                                           13,250.00
                                                           1618 Main St
                                                                                                   Purchase Support
                                                           Dallas, TX 75201
       NEIMAN MARCUS Total                                                                                                                                       13,250.00                        Assumed
       NEW EDGE NETWORK                                    3000 Columbia House Blvd., Suite        Internet Service Provider                                          0.00
                                                           106
                                                           Vancouver, WA 98661
       NEW EDGE NETWORK Total                                                                                                                                         0.00                        Rejected
       NPA COMPUTERS, INC                                  751 Coates Ave                          Hardware Maintenance                                           1,900.79
                                                           Holbrook, NY 11741                                                             07/21/2009
       NPA COMPUTERS, INC Total                                                                                                                                   1,900.79                        Assumed
       NYC PRIME REALTY INC                                500 Fifth Ave.                          Real Estate Broker Services                                        0.00
                                                           New York, NY 10110
       NYC PRIME REALTY INC Total                                                                                                                                     0.00                        Rejected
       OAK HALL INC                                        6150 Poplar Ave.                        Purchase of Product                                                0.00
                                                           Memphis, TN 38119


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           The cure amounts listed with respect to these Assumed Contracts are not meant to affect the liabilities to be assumed by Purchasers as set forth in the Agreement in Schedule 1.1(e) Customer Programs. The Debtor
is responsible for paying the Cure Amount set forth herein.

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                                                                                                    INVOICE
COUNTERPARTY                        ADDRESS                            DESCRIPTION                                  CURE AMOUNT     DESIGNATION / NOTES
                                                                                                    DATE1
OAK HALL INC Total                                                                                                           0.00          Assumed
ORLANDO OUTLET OWNER LLC            C O Prime Realty Property          Retail Lease                                          0.00
                                    Management LLC
                                    217 E. Redwood St.
                                    Baltimore, MD 21202
ORLANDO OUTLET OWNER LLC Total                                                                                               0.00          Assumed
PALM BEACH CAPITAL MANAGEMENT,      73-811 El Paseo                    Retail Lease                                          0.00
INC.                                Palm Desert, CA 92260              Palm Desert Store
PALM BEACH CAPITAL MANAGEMENT,                                                                                               0.00          Assumed
INC. Total
PASEO ESCADA LLC                    9 Point Loma Dr.                   Retail Lease                                          0.00
                                    Corona Del Mar, CA 92625           Palm Desert Store
PASEO ESCADA LLC Total                                                                                                       0.00          Assumed
PAYMENTECH, L.P.                    1601 Elm St.                       Credit Card Processing                                0.00
                                    Dallas, TX 75201                   Services
PAYMENTECH, L.P. Total                                                                                                       0.00          Assumed
PITNEY BOWES MANAGEMENT             Pitney Bowes                       Postage Meter Lease                               2,975.39
                                    1019 Waimanu St No 104
                                    Honolulu, HI 96814                                                 07/31/2009
PITNEY BOWES MANAGEMENT Total                                                                                            2,975.39          Assumed
PITNEY BOWES CREDIT CORPORATION     Pitney Bowes Purchase Power        Office Equipment Lease                            5,650.03
                                    27 Waterview Dr
                                    Shelton, CT 06484                                                  08/03/2009
PITNEY BOWES CREDIT CORPORATION                                                                                          5,650.03          Assumed
Total
PLAYNETWORK, INC                    Playnetwork, Inc                   Music Subscription Service      07/01/2009         177.24
                                    8727 148th Ave NE
                                                                                                                          319.14
                                    Redmond, WA 98052                                                  08/01/2009
PLAYNETWORK, INC Total                                                                                                    496.38           Assumed
POTAMKIN CADILLAC                   798 11th Avenue                    Motor Vehicle Lease                                   0.00
                                    New York, NY 10019
POTAMKIN CADILLAC Total                                                                                                      0.00          Assumed
PRIME OUTLETS AT ELLENTON           Gulf Coast Factory Shops Limited   Retail License                  08/05/2009        1,517.95
                                    Partnership
                                                                                                                          717.04
                                    Prime Outlets at Ellenton
                                    5595 Factory Shops Blvd.
                                    Ellenton, FL 34222                                                 09/03/2009
PRIME OUTLETS AT ELLENTON Total                                                                                          2,234.99     Assumed as Extended
PRIME OUTLETS AT QUEENSTOWN                     [INSERT]                                               09/03/2009         124.15

PRIME OUTLETS AT QUEENSTOWN Total               [INSERT]                                                                  124.15           Assumed
PRIME OUTLETS AT ST. AUGUSTINE                  [INSERT]                                               08/05/2009        1,718.26

                                                                                                       09/03/2009         783.07
PRIME OUTLETS AT ST. AUGUSTINE                                                                                           2,501.33          Assumed
Total
PROTECTION ONE                      Po Box 49292                       Alarm Monitoring at Palm                            59.00
                                    Wichita, KS 67201-9292             Desert Store                    07/21/2009

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                                                                                                                                     INVOICE
       COUNTERPARTY                                        ADDRESS                                 DESCRIPTION                                           CURE AMOUNT                   DESIGNATION / NOTES
                                                                                                                                     DATE1
                                                                                                                                          08/02/2009                205.58

       PROTECTION ONE Total                                                                                                                                         264.58                        Assumed
       QUENCH USA                                          517 Commerce St.                        Water Cooler Rental                                                0.00
                                                           Franklin Lakes, NJ 07417
       QUENCH USA Total                                                                                                                                               0.00                        Assumed
       RAYMARK XPERT BUSINESS SYSTEMS                      8000 Decarie Blvd. Suite 200            POS Hardware Maintenance                                           0.00
       INC                                                 Montreal, QU H4P2S4
                                                           Canada
       RAYMARK XPERT BUSINESS SYSTEMS                                                                                                                                 0.00                        Assumed
       INC Total
       RECALL NORTH AMERICA                                180 Technology Parkway                  Data Storage                                                       0.00
                                                           Norcross, GA 30092
       RECALL NORTH AMERICA Total                                                                                                                                     0.00                        Assumed
       RICHARDS OF GREENWICH                               359 Greenwich Ave.                      Purchase of Product                                                0.00
                                                           Greenwich, CT 06830
       RICHARDS OF GREENWICH Total                                                                                                                                    0.00                        Assumed
       RONALD M DRUKER & DAVID C BELL, as                  C O The Druker Company Ltd              Retail Lease                                                       0.00
       TRUSTEES OF THE HERITAGE                            50 Federal Street                       Boston Store
       COMMERCIAL REALTY TRUST                             Boston, MA 02110
       RONALD M DRUKER & DAVID C BELL, as                                                                                                                             0.00                        Assumed
       TRUSTEES OF THE HERITAGE
       COMMERCIAL REALTY TRUST Total
       ROSENTHAL FURS INC                                  341 Town Square Main St.                Purchase of Product                                                0.00
                                                           Highlands, NC 28741
       ROSENTHAL FURS INC Total                                                                                                                                       0.00                        Assumed
       ROYAL BANK OF SCOTLAND                              Attn: Mortgage Loan Department          SNDA (New York Store
                                                           C O Greenwich Capital Financial         Lease)
                                                           Products Inc.
                                                           600 Steamboat Road
                                                           Greenwich, CT 06830                                                                                      0.00
       ROYAL BANK OF SCOTLAND Total                                                                                                                                 0.00
                                                                                                                                                                                                  Assumed
       SAKS FIFTH AVENUE3                                  12 East 49th St. 9th Floor              Purchase of Product                                                0.00
                                                           New York, NY 10017                      Purchase of Support
       SAKS FIFTH AVENUE Total                                                                                                                                        0.00                        Assumed
       SAKS JANDEL MD                                      5510 Wisconsin Ave.                     Purchase of Product                                                0.00
                                                           Chevy Chase, MD 20815
       SAKS JANDEL MD Total                                                                                                                                           0.00                        Assumed
       SAWGRASS MILLS PHASE IV                             C O The Mills Corporation               Retail Lease                                                       0.00
                                                           1300 Wilson Blvd. St. 400               Sawgrass Mills Store
                                                           Arlington, VA 22209
       SAWGRASS MILLS PHASE IV Total                                                                                                                                  0.00                        Assumed



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           The cure amounts listed with respect to these Assumed Contracts are not meant to affect the liabilities to be assumed by Purchasers as set forth in the Agreement in Schedule 1.1(e) Customer Programs. The Debtor
is responsible for paying the Cure Amount set forth herein.

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                                                                                                   INVOICE
COUNTERPARTY                      ADDRESS                           DESCRIPTION                                    CURE AMOUNT     DESIGNATION / NOTES
                                                                                                   DATE1
SCHINDLER ELEVATOR CORPORATION    20 Whippany Rd                    Elevator Maintenance                                 317.71
                                  Morristown, NJ 07962-1935                                           08/01/2009
SCHINDLER ELEVATOR CORPORATION                                                                                           317.71            Assumed
Total
SECAUCUS OUTLET ASSOCIATES, LLC   C O Foxwood Realty Services LLC   Retail Lease                                            0.00
                                  55 Hartz Way                      Secaucus Outlet Store
                                  Secaucus, NJ 07094
SECAUCUS OUTLET ASSOCIATES, LLC                                                                                             0.00           Assumed
Total
SECOND HORIZON GROUP LIMITED      C O Prime Retail LP               Retail License                                          0.00
PARTNERSHIP                       217 East Redwood St.
                                  Baltimore, MD
SECOND HORIZON GROUP LIMITED                                                                                                0.00           Assumed
PARTNERSHIP Total
SHARED TECHNOLOGY                 1405 South Beltline Rd.           Hardware Maintenance                                    0.00
                                  Coppell, TX 75019
SHARED TECHNOLOGY Total                                                                                                     0.00           Assumed
SHERWOODS INC                     101 1st Ave. SW, Suite 16         Purchase of Product                                     0.00
                                  Rochester, MN 55902
SHERWOODS INC Total                                                                                                         0.00           Assumed
SHIFT4 CORPORATION                1491 Center Crossing Rd.          Credit Card Processing                                  0.00
                                  Las Vegas, NV 89144               Services
SHIFT4 CORPORATION Total                                                                                                    0.00           Assumed
SONITROL OF HAWAII LLC            1724 Hart St                      Alarm Monitoring at Honolulu                         176.96
                                  Honolulu, HI 96819                Store                             08/07/2009
SONITROL OF HAWAII LLC Total                                                                                             176.96            Assumed
SOUTH COAST PLAZA                 3333 Bristol St                   Retail Lease                                       30,901.96   Amendments negotiated with
                                  Costa Mesa, CA 92626              Southeast Plaza Store                                                 landlord
                                                                    Storage Space Lease               09/01/2009
SOUTH COAST PLAZA Total                                                                                                30,901.96     Assumed as Amended
SOUTHWEST SIGN COMPANY            1611 Jenks Dr                     Purchase of Signage               07/24/2009         932.53
                                  Corona, CA 92880
                                                                                                      07/25/2009        2,619.85

SOUTHWEST SIGN COMPANY Total                                                                                            3,552.38           Assumed
                                                th
SPECTRA LOGIC CORPORATION         1700 North 55 St.                 Hardware Maintenance                                    0.00
                                  Boulder, CO 80301
SPECTRA LOGIC CORPORATION Total                                                                                             0.00           Assumed
STANLEY KORSHAK                   500 Crescent Court, Suite 100     Purchase of Product                                     0.00
                                  Dallas, TX 75201
STANLEY KORSHAK Total                                                                                                       0.00           Assumed
STERLING COMMERCE, INC.           4600 Lakehurst Ct.                Software Maintenance                                    0.00
                                  Dublin, OH 43016
STERLING COMMERCE, INC. Total                                                                                               0.00           Assumed
STYD, LP                          C O U.S. Equities Realty          Retail Sublease                                         0.00
                                  20 North Michigan Ave.
                                  Chicago, IL 60602


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COUNTERPARTY                         ADDRESS                            DESCRIPTION                            CURE AMOUNT    DESIGNATION / NOTES
                                                                                                     DATE1
STYD, LP Total                                                                                                        0.00           Assumed
SUNGARD RECOVERY SERVICES LP         1285 Drummers Lane                 Data Back-Up and Recovery                     0.00
                                     Wayne, PA 19087                    Services
SUNGARD RECOVERY SERVICES LP                                                                                          0.00           Rejected
Total
SYNCSORT                             50 Tice Blvd.                      Software Maintenance                          0.00
                                     Woodcliff Lake, NJ 07677
SYNCSORT Total                                                                                                        0.00
TAX FREE SHOPPING                    1030 NorthPark Center              Sales Tax Refund Service
                                     Dallas, TX 75225                                                                0.00
TAX FREE SHOPPING Total                                                                                              0.00            Assumed
TEACHERS INSURANCE AND ANNUITY       Attention: Director, Portfolio     SNDA (Boston Store Lease)
ASSOCIATION OF AMERICA               Management
                                     730 Third Avenue
                                     New York, New York 100 17
                                     Mortgage and Real Estate
                                     Application #: MA-445
                                     Mortgage #I: M-0004 16000                                                       0.00
TEACHERS INSURANCE AND ANNUITY
ASSOCIATION OF AMERICA Total

                                                                                                                     0.00            Assumed
THE PORCUPINE LTD                    PO 5465 / The Village at Wexford   Purchase of Product                            0.00
                                     E4
                                     Hilton Head, SC 29928
THE PORCUPINE LTD Total                                                                                               0.00           Assumed
TRES MARIPOSAS                       5857 North Mesa                    Purchase of Product                           0.00
                                     El Paso, TX 79912
TRES MARIPOSAS Total                                                                                                  0.00           Assumed
TRUSTEES OF ARLINGTON BOYLSTON       c/o The Druker Company Ltd.        Retail Store                                 0.00
REALTY TRUST                         50 Federal Street                  Boston Store
                                     Suite 1000
                                     Boston, MA 02110
TRUSTEES OF ARLINGTON BOYLSTON                                                                                       0.00       Assumed as Extended
REALTY TRUST
TOWN OF MANCHESTER, VERMONT          P.O. Box 909                       Nondisturbance Agreement
                                     Manchester Center, Vermont 05255   (Manchester Store Lease)                     0.00
TOWN OF MANCHESTER, VERMONT
Total                                                                                                                0.00            Assumed
UNITED OVERSEAS BANK LIMITED         Attn: Senior Vice President and    SNDA (Beverly Hills Store)
                                     General Manager
                                     777 South Figueroa Street
                                     Los Angeles, CA 90017                                                           0.00
UNITED OVERSEAS BANK LIMITED Total
                                                                                                                     0.00            Assumed
United Parcel Service Inc.           Senior Account Executive           Carrier Agreement
                                     47 Hartz Way
                                     Secaucus, NJ 07094                                                              0.00


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COUNTERPARTY                      ADDRESS                             DESCRIPTION                                   CURE AMOUNT        DESIGNATION / NOTES
                                                                                                  DATE1
United Parcel Service Inc.
                                                                                                                            0.00               Assumed
U S EQUITIES REALTY, INC.         20 North Michigan Ave., Suite 400   Retail Lease                                            0.00     Amendments negotiated with
                                  Chicago, IL 60602                   Chicago Store                                                      landlord as Amended

U S EQUITIES REALTY, INC. Total                                                                                               0.00             Assumed
VANDERBILT MPD CORP               1601 Depot St                       Retail Lease                     10/01/2009        (3,835.95)
                                  Manchester Center, VT 05255
                                                                      Manchester Center Store          11/01/2009           (66.96)

                                                                                                  (blank)                (2,332.90 )

VANDERBILT MPD CORP Total                                                                                                (1,570.01)            Assumed
VERIZON WIRELESS                  HQ-Legal Contract Administration    Wireless Cellular Service
                                  One Verizon Way                     Agreement
                                  Basking Ridge, NJ 07920                                                                   0.00
VERIZON WIRELESS Total                                                                                                      0.00               Assumed
WAVE2WAVE,NEW YORK, INC.          433 Hackensack Ave                  Internet Access Provider                             (600.00)
                                  Hackensack, NJ 07601                                                 07/01/2009
WAVE2WAVE,NEW YORK, INC. Total                                                                                             (600.00)            Assumed
WILLIAMSBURG OUTLETS, LLC         C O Prime Retail LP                 Retail License                                        0.00
                                  217 East Redwood St.
                                  Baltimore, MD 21202
WILLIAMSBURG OUTLETS, LLC Total                                                                                                          Assumed as Extended
                                                                                                                            0.00
WORTH – PONDFIELD LLC             97 77 Queens Blvd. Suite 710        Retail Lease
                                  Rego Park, NY 11374                                                                       0.00
WORTH – PONDFIELD LLC Total                                                                                                                    Assumed
                                                                                                                               0.00
ZITA INC                          211 E. Silver Spring Dr.            Purchase of Product
                                  Whitefish Bay, WI 53217                                                                       0.00
ZITA INC Total                                                                                                                 0.00            Assumed

GRAND TOTAL                                                                                                            $228,762.81




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